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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DIVISION

 FROST SOLUTIONS, LLC,

                      Plaintiff,                                      CASE NO.: 1:22-CV-06910

           v.                                                           Hon. J. Martha M. Pacold

 CORY MOORE and                                                       Hon. Mag. J. Jeffrey T. Gilbert
 TRAFFIC AND PARKING CONTROL CO., INC.,
                                                                             Jury Demanded
                      Defendants.


                  DECLARATION OF MARIA L. KREITER
   IN SUPPORT OF DEFENDANTS’ OPPOSITION TO FROST’S MOTION FOR A
           SIXTY-DAY EXTENSION OF DISCOVERY DEADLINES

       Maria L. Kreiter, pursuant to 28 U.S.C. § 1746, declares as follows:

          1.       I am lead defense counsel for Defendant Cory Moore (“Moore”) and the newly

joined Defendant, Traffic and Parking Control Co., Inc. (“TAPCO”).

          2.       Other than its unsuccessful Motion to Compel, Frost did very little to advance

discovery. It was not until recently that Frost:

      •        Belatedly provided its search terms and custodians on September 9 (on the eve of

               the parties’ status report in which Moore was going to report that Frost failed to

               make the disclosure as promised by the date Frost selected, September 3)

      •        Noticed a TAPCO Rule 30(b)(6) deposition – September 18

      •        Belatedly responded to Moore’s September 6, 2024 Meet and Confer Letter on

               September 20, after Moore asked to know of any dispute by September 13 and did

               not receive so much as a courtesy response that date

      •        Notified Moore of its intention to depose third parties Patrick Baglien and Chris
               Lareau (September 23) and finally issued notices of deposition for the same –
               October 9


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      •        Met and conferred with Moore via telephone to address and resolve its search
               deficiencies on October 3, after delaying and rescheduling the call first requested
               on September 20

      •        Issued a deposition subpoena to Brian Everard - October 3

      •        Issued third-party document subpoena to Vaisala Inc. – October 4

      •        Issued third-party document subpoena to Vue Robotics LLC – October 4

          3.       TAPCO’s production has been complete for nearly a month and Frost has never

issued a deficiency notice.

          4.       Frost has five attorneys actively involved in this matter on its behalf, from two law

firms. In fact, the four attorneys representing Frost from the Taft law firm have been the main

point of contact for responding to Moore’s counsel regarding Frost’s discovery deficiencies;

authoring a response meet and confer letter; scheduling and attending meet and confer

conferences; sending third-party subpoenas; sending responses to discovery requests; and taking

and defending depositions.

       5.          What Frost omits with respect to its argument that Moore recently provided a

copy of documents produced in response to his timely served third-party subpoenas is that the

documents Moore produced were those provided by the bank of Frost Controls (which Frost

acquired) and Notre Dame, an entity with which Frost coordinated to purchase Frost Controls.

The vast majority of the Notre Dame documents reflect correspondence with Frost’s

principals and have thus been in Frost’s possession for years. Thus, the only party who

recently received a large volume of new information is Moore, not Frost.

          6.       Despite being compelled to produce documents at issue in Moore’s Motion to

Compel by August 27, 2024, Moore has since come to learn that Frost’s original searches to locate

these documents were wildly insufficient, including but not limited to the fact that Frost’s



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principals were not custodians for key searches and other searches were run only over a set of

documents produced in Frost’s third-party litigation against Vue.

       7.       Further, while Frost responded to Moore’s second set of discovery requests on time,

it did not provide any documents or provide a date on which they would be produced.

       8.       In addition, Frost responded to Moore’s additional interrogatories by reference to

documents that it did not identify or provide a Bates range where Moore can find the referenced

documents.

       9.       Frost’s responses to Moore’s third set of requests for production are due next week

and Moore has no confidence that those responses will be sufficient.

       10.      Further, Frost committed to curing its discovery deficiencies associated with

Moore’s first set of discovery that was subject to the Court’s order compelling production by no

later than August 27, 2024 by today, October 11, 2024, and has not done so. As such, Moore is

the party severely prejudiced in terms of discovery, not Frost, including for the reason that Moore

will likely have to file yet another motion to compel and yet again seek an award of attorney’s

fees if Frost does not immediately and comprehensively address all outstanding — and glaring —

deficiencies.

      I declare under penalty of perjury that the foregoing is true and accurate to the best of my

knowledge this 11th day of October, 2024.

                                                     /s/ Maria L. Kreiter
                                                     Maria L. Kreiter




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                                 CERTIFICATE OF SERVICE

         The undersigned attorney hereby certifies that, on October 11th, 2024, she caused the

foregoing document to be electronically filed with the Clerk of the United States District Court

for the Northern District of Illinois, Eastern Division, using the Court’s CM/ECF system, which

is also served upon counsel for all parties of record.


                                                         /s/ Christie B. Carrino
                                                         Christie B. Carrino


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